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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

THE HONORABLE ORDER OF                                                                 Plaintiffs
KENTUCKY COLONELS, INC.

v.                                                         Civil Action No. 3:20CV-132-RGJ &
                                                                               3:23-CV-43-RGJ

DAVID WRIGHT, ET AL.                                                                Defendants

                                          * * * * *

                       MEMORANDUM OF HEARING AND ORDER

       The Court conducted the continuation of the show cause hearing in this matter on May 9,

2023. The official court reporter was April Dowell. The following counsel participating:

       For Plaintiff(s):     Cornelius E. Coryell and Julye L. Watts.

       For Defendant(s):     David Wright (“Wright”), Pro-Se, participated via Zoom.

       The Court heard arguments by the parties as to the pending motions [DE 99 in 3:20-CV-

132] and the permanent injunction [DE 93 in 3:20-CV-132].          Testimony was taken from

Defendant David Wright and plaintiff witness Sherry Crose.         The Court being otherwise

sufficiently advised; IT IS HEREBY ORDERED as follows:

       (1)     The motion to appear telephonically or via video conference by defendant David

Wright [DE 114] is GRANTED.

       (2)     The motion to waive pacer access fees by the defendant [DE 106] is GRANTED,

as the Court finds Wight has demonstrated that an exemption is necessary in order to

avoid unreasonable burdens and to promote public access to information and has shown

good cause that he is indigent for the purposes of pacer access. See Electronic Public Access

Fee    Schedule,      https://www.uscourts.gov/services-forms/fees/electronic-public-access-fee-
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schedule. However, the defendant is warned that in receiving this exemption he agrees not to

sell the data obtained and must not transfer any data obtained as the result of this exemption,

unless authorized in writing by this Court. In addition, the Court notes that this access shall be

granted access only until the conclusion of this case and may be revoked at any time by the

Court.

         (3)      The parties shall file proposed findings of fact and conclusions of law within

thirty days of the filing of the transcript of the hearings, which shall be filed by the Court

Reporter within fourteen days. Any responses to the proposed findings of fact and conclusions

of law shall be filed within thirty days. Any replies must be filed with a motion for leave to

file.




         May 16, 2023




Copies to: Counsel & Pro-Se Plaintiff- David Wright

Court Time: 02/40- Contested

Court Reporter: April Dowell
